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Case 4:21-cr-06028-MKD ECF No. 157

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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF WASHINGTON

UNITED STATES OF AMERICA,
Plaintiff,
V.
IGNACIO GARAY ORNELAS (a/k/a
“Junior’’),

Defendant.

 

filed 03/01/22 PagelD.875 Page 1 of 1

 

Case No.: 4:21-cr-06028-MKD-10

Motion To Seal Indictment

 

Plaintiff, United States of America, by and through Vanessa R. Waldref,

United States Attorney for the Eastern District of Washington, and Stephanie V an

Marter, Assistant United States Attorney for the Eastern District of Washington

moves the Court pursuant to Federal Criminal Procedure Rule 49.1(d), for an Order

sealing the Indictment until further order of the Court or until Defendant’s arrest,

whichever comes first.

Dated: March 1, 2022.

MOTION TO SEAL INDICTMENT - |

Vanessa R. Waldref
United States Attorney

s/ Stephanie Van Marter
Stephanie Van Marter
Assistant United States Attorney

 
